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AO 93C () :DUUDQWE\ 7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-968M(NJ)
   WILLNEAL D. CHEEKS (D.O.B. XX/XX/1982)                                   )
                                                                            )
                                                                            )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  WILLNEAL D. CHEEKS (D.O.B. XX/XX/1982)




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  WILLNEAL D. CHEEKS (D.O.B. XX/XX/1982)




          YOU ARE COMMANDED to execute this warrant on or before        September 3, 2022        (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying,
                                                                     ing, the later specific date ooff                                 .


Date and time issued:          08/19/2022 9:47 am
                                                                                                          Judge’s
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City and state: Milwaukee, Wisconsin                                                  Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                             Case 2:22-mj-00968-NJ Filed 08/19/22 Page 1 of 14 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 22-968M(NJ)
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                            ATTACHMENT A

                            Person to be searched

The person to be searched is Willneal D. CHEEKS, D.O.B., xx/xx/1982.




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                               ATTACHMENT B
                               Property to be seized
The property to be seized is saliva containing epithelial cells by buccal swab.




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                          AFFIDAVIT IN SUPPORT OF
                APPLICATION FOR SEARCH AND SEIZURE WARRANT

       I, David Rybarik, being first duly sworn, hereby depose and state as follows:

       I.       INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to collect an oral swab or swabs of deoxyribonucleic acid

(DNA) from saliva containing epithelial cells, further described in Attachment B, from the person

of Willneal D. CHEEKS, DOB xx/xx/1982, further described in Attachment A.

       2.       I am a Racine Wisconsin Police Detective and a Task Force Officer with the Federal

Bureau of Investigation (FBI) and have been employed in law enforcement since January 1999.

As a Law Enforcement Detective and Task Force Officer, I have participated in numerous

investigations regarding the unlawful possession of firearms by convicted felons. I have also

conducted investigations related to gangs, drug conspiracies, homicides, the unlawful use of

firearms, firearms trafficking, and identifying those that conspire or aid and abet those who commit

these crimes.

       3.       In addition, as I am a Racine Police Detective and part of the Racine Police Major

Crimes Unit and Special Investigations Unit – Gangs, as well as a FBI Task Force Officer, I have

been tasked with the forensic recovery of electronic digital data from electronic devices. Such

devices include: computers, cellular phones, digital video recorders, and storage devicesʊsuch as

flash, memory, and thumb drivesʊfor use in criminal investigations.

       4.       In the course of my experience, I have been, and continue to be, involved in

investigations where DNA analysis provided evidence of crimes and of a particular person’s

participation in a crime, including the packaging and manufacturing of drugs, the control of or

nexus to drug premises, and the possession of firearms, ammunition, and firearms accessories.




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       5.      This affidavit is based upon my personal knowledge and upon information reported

to me by Racine Police law enforcement officers during the course of their official duties, all of

whom I believe to be truthful and reliable.

       6.      I have participated in numerous firearms trafficking and drug trafficking

Investigations. These investigations have resulted in the seizure of computers, cellular phones,

cameras, and other digital storage devices, and the subsequent analysis of electronic data stored

within these devices. I have also participated in investigations involving the use of historical and

prospective location information to identify targets, map patterns of travel, corroborate other

evidence and apprehend persons to be arrested. On numerous occasions, this electronic evidence

has provided proof of the crimes being investigated and corroborated information already known

or suspected by law enforcement. I have regularly used electronic evidence, including information

about historical and prospective wireless communications, to find proof relating to the commission

of criminal offenses, including the manner, means, and identity of co-conspirators.

       7.      Based on my training and experience, I have become familiar with the language

utilized over the telephone to discuss firearms and drug trafficking and know that the language is

often limited, guarded, and coded. I also know that firearms and drug traffickers often use

electronic devices (such as computers and cellular phones) and social media to facilitate these

crimes, including to communicate and navigate.

       8.      Because this affidavit is submitted for the limited purpose of securing a search

warrant, I have not included each and every fact known to me concerning this investigation. I have

set forth only facts that I believe are sufficient to establish probable cause.

       9.      Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that Willneal D. CHEEKS has committed a violation of Title 18,



                                                   2

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United States Code, Section 922(g)(1)(felon in possession of a firearm) and that evidence will be

found in an oral swab or swabs of deoxyribonucleic acid (DNA) from the saliva containing

epithelial cells, further described in Attachment B, collected from the person of Willneal D.

CHEEKS, further described in Attachment A.

       II.      PROBABLE CAUSE

       A. Background

       10.      On July 1, 2022, Sgt. LaForge with the Racine Police Department (RAPD) was

working on patrol operating marked squad R-34. Sgt. LaForge was driving northbound on North

Memorial Drive approaching Maple Street in the City of Racine. At approximately 23:14 hrs., a

2019 Grey Dodge Durango was travelling southbound on North Memorial Drive waiting for Sgt.

LaForge to clear the intersection to turn left (east) onto Maple St. At the same time, a 2002 Gray

Dodge Charger was travelling southbound on North Memorial Drive behind the Durango. As Sgt.

LaForge was alongside the Durango, the Charger crashed into the rear of the Durango. Sgt.

LaForge notified dispatch of the crash, began blocking traffic, and began checking for possible

injured parties.

       11.      Sgt. LaForge positioned his squad behind the Charger having his emergency lights

activated. Air bags had been deployed throughout the vehicle, preventing Sgt. LaForge to see

inside the Charger as he parked. As Sgt. LaForge stopped his squad, a black male exited the

passenger front door of the Charger. The male black dropped a dense black object on the pavement

and was struggling and fumbling to pick it up as he was trying to run. Sgt. LaForge suspected the

object to be a firearm. Sgt. LaForge radioed a description of the suspect (black male, white shirt,

red hat, grey sweatpants) prior to exiting his squad. Sgt. LaForge also provided a direction of

travel and described the houses which the black male ran and disappeared. Sgt. LaForge



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approached the Charger and found no one else was in the Charger, therefore the black male that

fled was the operator. Additional squads responded to the area and set up a perimeter to locate the

suspect.

       12.      Sgt. LaForge made contact with the operator and lone occupant of the Durango,

A.G. A.G. stated to Sgt. LaForge that she was in shock and sat down in the street by her vehicle.

Due to the nearby passing vehicles, Sgt. LaForge requested that A.G. move to the sidewalk.

A.G. requested rescue for back and body pain. Sgt. LaForge observed A.G. to appear to be in

pain clenching her jaw and frequently groaning.

       13.      A short time later Sgt. LaForge heard RAPD Officer Estep locate a party matching

the description he had provided, and the party fled from Officer Estep as well. Moments later the

party was arrested by RAPD Officers Ulickey, Holimon, Donald Rybarik, and Sgt. Debaker, after

residents of 1609 Maple Street alerted them to the suspect’s location. The suspect was identified

as Willneal D. CHEEKS, dob 1982.

       14.      Officers checked CHEEKS’ flight path and located the red hat he had been wearing,

a firearm, a firearm magazine, and marijuana. Upon check of the Charger, Sgt. Laforge located

several documents (mail and credit card) in the name of Willneal CHEEKS. Sgt. Laforge located

a partially consumed bottle of Patron Tequila. At this time an unidentified female approached the

Charger and asked about “his glasses” that might be inside. At approximately the same time, Sgt.

DeBaker approached Sgt. LaForge and asked if there were prescription glasses inside. Sgt.

LaForge did locate a pair of thick designer eyewear between the passenger seat and door.

       15.      Sgt. LaForge went to the transport van to see if CHEEKS would provide a

statement. Sgt. Laforge observed CHEEKS wearing the glasses he had found and mentioned the

glasses were returned to him. CHEEKS confirmed they had been returned to him. Sgt. Laforge



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read CHEEKS his Miranda Rights. CHEEKS stated he understood his Rights but did not want to

give a statement without an attorney present. CHEEKS was transported to RCSD jail.

       16.     Sgt. Laforge reported CHEEKS was the operator of a vehicle that was involved in

a crash that injured another person, CHEEKS fled the scene upon police arrival without providing

any of his information to the other operator or even checking if they were injured. CHEEKS was

arrested for Hit and run – Involving Injury. Sgt. Laforge reported he observed CHEEKS drop,

fumble, and pick up an object he believed to be a firearm. A firearm and matching magazine were

located in CHEEKS’ flight path. Last, a discarded bag of marijuana was located in the direct path

Sgt. LaForge saw CHEEKS take while fleeing from him.

       17.     According to publicly available records, CHEEKS was convicted of conspiracy to

distribute crack cocaine in United States v. Cheeks, Case No 08-Cr-162 (E.D. Wis.). Additionally,

CHEEKS was convicted of Possession of Cocaine and Possession with Intent to Distribute

Marijuana in State of Wisconsin v. Cheeks, Racine County Circuit Court Case No. 2003CF1317.

And, at the time of the hit and run, CHEEKS was on extended supervision in connection with

Racine County Circuit Court Case No. 2016CF1001, in which he was convicted of Possession

with Intent to Distribute Cocaine.

       B. Collection and Swabbing

       18.     On July 1, 2022, at approximately 23:16 hrs., RAPD Officer Estep was on routine

patrol when he heard Sgt. Laforge radio that he was out with a two vehicle accident near the

intersection of North Memorial Drive and Maple Street. Sgt. Laforge then advised that a male

with a white shirt and red hat had fled the scene, dropping something heavy and metallic. Sgt.

Laforge called out the direction of travel of the suspect. Officer Estep responded to the area to

attempt to locate the male who had fled the scene.



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        19.     Officer Estep was at the intersection of W. 6th Street and Jones Avenue when he

observed a male black with a white shirt crouch down behind a vehicle on the east side of the

300 block of Jones Avenue. Upon observing Officer Estep’s squad, the male stood up and ran

east down an alley in the 1500 block of Maple Street and W. 6th Street. Officer Estep observed

the suspect to be a male black, having short hair, white t-shirt, and black and white shoes. Ofc.

Estep called out the suspect’s description and direction of travel. Ofc. Estep observed a red hat

had been discarded next to 311 Jones Avenue. Officer Estep collected the hat as evidence and

placed it into a bag.

        20.     Officer Estep reported a short time later the suspect was taken into custody in the

1500 block of Maple Street. Officer Estep responded to the 1500 block of Maple Street. Officer

Estep found the individual in custody was the same individual Officer Estep had observed earlier

to have fled from behind the car. The individual was identified as Willneal D. CHEEKS dob

1982.

        21.     Officer Estep acting as an evidence technician responded to the area of the accident

scene and took photos of both the Durango and Charger. Officer Estep responded to 1527 Maple

Street, where the firearm had been located by Officer Shoenbeck. Officer Estep took overall

photos of the firearm. Officer Estep reported the firearm as a Glock 27 Gen 4 having serial number

YVN402.

        22.     On July 5, 2022, Racine Police Department Criminalist S. Nuttall received the

Glock 27 Gen 4 having serial number YVN402 for the purpose of possible DNA recovery. Nuttall

collected potential DNA from the handgrips, sights, trigger, trigger guard, and top edge of the

magazine of the gun. After all the swabs dried, Nuttall placed the swabs in new paper envelopes,

and then packed and sealed the envelope with swabs in a new paper bag.



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       23.      Upon completing the DNA recovery procedure, Criminalist S. Nuttall treated the

firearm with cyanoacrylate ester (super glue) fumes to detect potentially present latent fingerprints.

The Fingerprint Detection results showed no identifiable ridge detail developed on the firearm.

       24.      Based on my training and experience, I know that a sample of saliva containing

epithelial cells may be found in and on a person. Swabbing the inside of a subject’s mouth or cheek

with a sterile cotton swab and preserving the saliva and cells obtained as a result is a reliable

method for collecting a DNA sample. This process is called taking a “buccal swab” or “buccal

smear.” A case agent trained in how to collect a DNA sample and prevent contamination of the

resulting evidence will conduct these searches using sterile swabbing kits for use in collection and

preservation.

       III.     CONCLUSION

       25.      Based on the information above, I submit that there is probable cause to believe

that by taking oral swabs of CHEEK’s mouth, there may now be found DNA that is evidence of

the possession of a firearm in furtherance of the possession of a firearm and ammunition by a

prohibited person, in violation of 18 U.S.C. § 922(g). Therefore, I request that this Court issue a

search warrant to obtain samples of CHEEK’s DNA from saliva containing epithelial cells for

subsequent testing and evaluation.




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                            ATTACHMENT A

                            Person to be searched

The person to be searched is Willneal D. CHEEKS, D.O.B., xx/xx/1982.




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                               ATTACHMENT B
                               Property to be seized
The property to be seized is saliva containing epithelial cells by buccal swab.




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